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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


          NOTICE OF FILING OF EMAILS, TEXT MESSAGES, AND OTHER
                            COMMUNICATIONS

       As directed by the Court at the March 3rd hearing on the motion for a preliminary

injunction, the plaintiffs are filing the attached communications.


                                                     Respectfully submitted,


                                                      Dated: March 4, 2025

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